                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                  Plaintiff,                     )
                                                 )
      v.                                         ) Criminal Action No.
                                                 ) 15-06007-08-CR-SJ-BP
JONO DEAN HAMLIN,                                )
                                                 )
                  Defendant.                     )

                               REPORT AND RECOMMENDATION

       On November 17, 2016, I ordered Defendant to undergo a competency evaluation (Doc.

No. 207).   Defendant was examined by William S. Logan, M.D., who prepared a report

received on March 22, 2017 (Doc. No. 246).

       A competency hearing was held on April 6, 2017. The government was represented by

Assistant United States Attorney Bruce Rhoades.      Defendant in person with appointed attorney

Richard Carney.    The parties stipulated to the contents and findings of Dr. Logan’s report (Tr.

at 2). No additional evidence was presented.      The parties waived the fourteen-day objection

period to the Report and Recommendation (Tr. at 3).      Based upon the uncontroverted evidence,

I find that Defendant is competent to proceed.   Therefore, it is

       RECOMMENDED that the court, after making an independent review of the record and

applicable law, enter an order finding Defendant competent.

                                                         /s/ Robert E. Larsen
                                                     ROBERT E. LARSEN
                                                     United States Magistrate Judge

Kansas City, Missouri
April 12, 2017




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